                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE



 UNITED STATES OF AMERICA                                  )
                                                           )
                                                           )
 v.                                                        )        No. 2:20-CR-65
                                                           )
 EMORY JACKSON                                             )

                                                  ORDER

         Defendant’s counsel filed a Motion to Withdraw, [Doc. 77], alleging a breakdown of the attorney-

 client relationship. Defendant, his present counsel, J. Russell Pryor, Esq., and Assistant United States

 Attorneys, Kateri Dahl and Meghan Gomez, appeared in-person before the Court on the motion.

         The Court inquired about the grounds for the motion during a sealed portion of the hearing. The

 Court finds the motion well-taken and it is GRANTED. In granting the motion, the Court does not find

 that the representation Defendant received from his current counsel was deficient in any manner, as counsel

 appears to have been a zealous advocate for Defendant, but it does appear that the attorney client

 relationship has been broken beyond repair. Ms. Nikki Himebaugh, Esq., a member in good standing with

 the CJA Panel in this division, is hereby appointed to represent Defendant. The transcript of the March 15,

 2021 hearing is SEALED and may not be released without prior approval by the Court.

         The Court sua sponte CONTINUES the March 23, 2021 to give new counsel adequate opportunity

 to prepare for trial, and to engage in whatever motion practice is necessary due to the superseding

 indictment. The trial is RESET to May 11, 2021.

         Therefore, it is hereby ORDERED that the following deadlines for this matter be set as follows:

  Trial Date                                                         May 11, 2021, at 9:00 a.m.
                                                         U.S. District Judge J. Ronnie Greer in Greeneville,
                                                                                 TN
  Estimated length of trial                                                     3 days

  Requests for Special Jury Instructions                                 5 days before trial



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  Plea Deadline                                                            April 27, 2021

  Requests for Special Jury Instructions                                   April 13, 2021

         For the reasons stated above, all time between the filing of this order and the new trial date

 identified above is hereby declared “excludable time” under the Speedy Trial Act. The ends of justice served

 by the granting of this continuance outweigh the best interests of the public and Defendant in a speedy trial.

 See 18 U.S.C. § 3161(h)(7)(A).

         So ordered.

         ENTER:


                                                                         s/J. RONNIE GREER
                                                                    UNITED STATES DISTRICT JUDGE




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